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      MOSAFER E-COM, INC. and
 9    GOMOSAFER
10                           UNITED STATES DISTRICT COURT
11               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
12

13    MOSAFER INC.; MOSAFER ECON,                 Case No. 2:21-cv-06320-MCS-JC
      INC.; AND GOMOSAFER,
14                                                [Assigned to Hon. Mark C. Scarsi]
                    Plaintiffs,
15                                                STIPULATION TO EXTEND TIME
            v.                                    TO RESPOND TO
16                                                COUNTERCLAIMS BY NOT MORE
      ELLIOTT BROIDY; GEORGE NADER;               THAN 30 DAYS (L.R. 8-3)
17    BROIDY CAPITAL MANAGEMENT,
      LLC; CIRCINUS, LLC; THE IRON
18    GROUP INC. D/B/A IRONISTIC.COM;             Counterclaim filed:   Oct. 7, 2021
      SCL SOCIAL LIMITED; PROJECT
19    ASSOCIATES UK LTD; MATTHEW                  Current Response Due: Oct. 28, 2021
      ATKINSON; AND JOHN DOES 1-100,              New Response Due:     Nov. 18, 2021
20
                   Defendants.
21

22    AND RELATED COUNTERCLAIMS
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        STIPULATION TO EXTEND TIME TO RESPOND TO INITIAL COUNTERCLAIMS BY NOT MORE THAN 30
                                           DAYS (L.R. 8-3)
     Case 2:21-cv-06320-MCS-JC Document 52 Filed 10/22/21 Page 2 of 3 Page ID #:445



 1
            Counterclaim-Defendants Mosafer Inc., Mosafer-Ecom, Inc. and Gomosafer
 2
      (“Counterclaim-Defendants”) and Counterclaimants Plaintiffs Elliott Broidy, Broidy
 3
      Capital Management, LLC, and Circinus, LLC, (together “Counterclaimants”)
 4
      (collectively referred to as the “Parties,”) through their respective counsel, submit the
 5
      following stipulation under Local Rule 8-3:
 6
            WHEREAS on August 5, 2021, the Mosafer Inc., Mosafer-Ecom, Inc. and
 7
      Gomosafer, filed this action against Defendants Elliott Broidy, George Nader, Broidy
 8
      Capital Management, LLC, Circinus, LLC, Ironistic, SCL Social Limited, Project
 9
      Associates UK Ltd, Matthew Atkinson, and John Does 1-100 [Doc. 1];
10
            WHEREAS on October 7, 2021, the Counterclaimants filed Counterclaims
11
      against Mosafer Inc., Mosafer-Ecom, Inc., Gomosafer, Abu Issa Holdings, Ashraf Abu
12
      Issa, and Nabil Abu Issa, and the State of Qatar [Doc. 45];
13
            WHEREAS, on October 7, 2021, the Counterclaim was electronically served on
14
      Mosafer Inc., Mosafer-Ecom, Inc. and Gomosafer and thus their responsive pleading
15
      deadline is currently October 28, 2021;
16
            WHEREAS Abu Issa Holdings, Ashraf Abu Issa, and Nabil Abu Issa have agreed
17
      to return a Notice of Acknowledgement of Service on October 28, 2021 which will
18
      make their responsive pleading due on November 18, 2021;
19
            WHEREAS, in order to consolidate the responsive pleading deadlines of Mosafer
20
      Inc., Mosafer-Ecom, Inc. and Gomosafer with the responsive pleading deadlines of Abu
21
      Issa Holdings, Ashraf Abu Issa, and Nabil Abu Issa, the Parties have agreed to a 21 day
22
      extension of Mosafer Inc., Mosafer-Ecom, Inc. and Gomosafer’s responsive pleading
23
      deadline to November 18, 2021.
24
            WHEREAS, this is the first extension requested of Mosafer Inc., Mosafer-Ecom,
25
      Inc. and Gomosafer’s responsive pleading deadline;
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                                                    2
        STIPULATION TO EXTEND TIME TO RESPOND TO INITIAL COUNTERCLAIMS BY NOT MORE THAN 30
                                           DAYS (L.R. 8-3)
     Case 2:21-cv-06320-MCS-JC Document 52 Filed 10/22/21 Page 3 of 3 Page ID #:446



 1
             THEREFORE, the Parties agree, through their respective attorneys to the
 2
      following that Mosafer Inc., Mosafer-Ecom, Inc. and Gomosafer’s responsive pleading
 3
      deadline shall be continued 21 days to November 18, 2021.
 4

 5    IT IS SO STIPULATED.
 6

 7    DATED: October 22, 2021                           LARSON LLP
 8
                                                  By: /s/ Stephen G. Larson1
 9                                                   Stephen G. Larson
10                                                   Koren L. Bell
                                                     Paul A. Rigali
11                                                   Jonathan D. Gershon Attorneys for
12                                                   Plaintiffs and Counterclaim Defendants
                                                     MOSAFER INC.; MOSAFER E-COM,
13                                                   INC.; GOMOSAFER; ABU ISSA
14                                                   HOLDINGS; ASHRAF ABU ISSA; and
                                                     NABIL ABU ISSA
15

16

17    DATED: October 22, 2021                           MCGUIREWOODS LLP

18

19                                                By: /s/ Michael Francisco
20                                                   Kevin M. Lally
                                                     Abigail G. Urquhart
21                                                   George J. Terwilliger III (Pro Hac Vice)
22                                                   Michael Francisco (Pro Hac Vice
                                                     Attorneys for Defendants and
23                                                   Counterclaim Plaintiffs ELLIOTT
24                                                   BROIDY; BROIDY CAPITAL
                                                     MANAGEMENT, LLC; and CIRCINUS,
25                                                   LLC
26

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      1
       Pursuant to Local Rule 5-4.3.4(a)(2)(i), filer attests that all other signatories listed, and
      on whose behalf the filing is submitted, concur in the filing’s content and have
28    authorized the filing.
                                                    3
          STIPULATION TO EXTEND TIME TO RESPOND TO INITIAL COUNTERCLAIMS BY NOT MORE THAN 30
                                             DAYS (L.R. 8-3)
